        Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 1 of 14




                                                            __X
  MARINERS COVE SITE B ASSOCIATES,                                          Index No. L&T 63 974/14
                           Petitioner,
           '
                  _



               3ga1nst-                                                     AFFIDAVIT IN
                                                                            SUPPORT OF MOTION
  DR. STEVEN GREER
  200 RECTOR PLACE
  APARTMENT 35F
  NEW YORK, NEW YORK 10280


 _____________________________
 STATE OF NEW YORK
                       Respondent.

                                          )
                                                            __X


                                          )SS.:
 COUNTY OF NEW YORK                       )

                       Stephen Rossi, being duly sworn, deposes and says:

                       1.     vice-president and director of management
                                 I am a
                                                                        services of Milford
 Management Corp., agent for Petitioner Mariners Cove Site B
                                                             Associates           the owner
 and landlord of apartment 35F                          located   at 200   Rector Place, New York, New York
 10280                         in which Dr. Steven Greer is the tenant-of-record
                                                                                                      As such, I
 am   fully familiar with the facts set forth below.

                      2.         This affidavit and the accompanying affidavits,
                                                                                 afiinnation and
memorandum of law are respectfully submitted in support of the motion
                                                                      brought by Petitioner
which seeks an order: (a) pursuant to CPLR                         and               and (a)(7), dismissing the
affirmative defenses and counterclaims interposed by Respondent; (b)
                                                                      striking Respondent’s jury
demand, in the event same is deemed to be valid; (c) pursuant to CPLR
                                                                      $2 I 2, granting Petitioner
summary judgment; (cl) issuing a warrant of eviction against
                                                             Respondent with execution of same
forthwith; (e) awarding Petitioner all outstanding          use and      occupancy; (i) awarding Petitioner its




                                                                                                                   LD001944
          Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 2 of 14

                             '

  3 tt
         Omel/S fees 1I10111T9d
               ,                      I




                                           thls Proceeding, provided
                                                           '




                                      In
                                                                      I

                                             .                                        I




                                                                                a   written   agreement
                                                                                                                I




                                                                                                          authorizing such
                                                                                                                    .

                                                                                                                               an
   award exists between the parties; and (g) for
                                                 such other and further relief as this                        court     may deem
  just and proper.

  RESPONDENT’S AFFIRMATIVE DEFENSES
  ___
    ,_______________________
  AND
                           ,________
      COUNTERCLAIMS SHOULD BE DISMISSED
                        3.        This is   a    holdover proceeding Petitioner commenced after Respondent’s
 most recent non rent-regulated lease expired
                                              on April 30, 2014.                          The   Premises   is a condominium
 unit owned by Petitioner which it rented                to    Respondent dating back to 2002. A copy of the notice
 of petition and petition                          is annexed     hereto   as   Exhibit
                    4.            Notwithstanding Respondent’s allegations otherwise, the Premises is
                                                                                                                           not a




fantasy and vitriol                         A copy of the Answer is annexed hereto as               Exhibit
                   6.            I have read the Answer and, simply put, Respondent’s
                                                                                      purported affirmative
defenses and counterclaims have                   no   merit. Accordingly, your deponent will not take up the
Court’s time addressing every single word of the Answer, especially since the
                                                                              contents therein
often speak for themselves.

                   7.            For example, the Court need look no further than Respondent’s

unsubstantiated and delirious allegations that local political andfor governmental
                                                                                   figures have
conspired not to renew Respondent’s lease agreement.        Answer '[['|Il2-15.




                                                                                                                                    LD001945
      Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 3 of 14


                     8.        Indeed, I am advised by Petitioner’s counsel that
                                                                                 much, if not all, of what
  Respondent alleges in the Answer is irrelevant
                                                             to this   proceeding, even assuming all of the
  allegations are true (which they are not).

                 9.        As    Respondent has lived in the Premises since 2002 with knowledge
                                                                                                          that he
  was leasing a condominium apartment, Respondent’s arguments
                                                              wreak of desperation.                 A copy of
  Respondent’s original lease                  is annexed   hereto   as Exhibit

                 10.           I am   advised by Petitioner’s counsel that Respondent should
                                                                                             be barred
 from raising this    argument    more than 12 years after he moved into the Premises.

                 1   1.    As I will discuss more fully hereinbelow,        Petitioner’s decision not to renew
 the lease was strictly a business      decision based on factors discussed in detail hereinbelow. It was
 not made in retaliation for     anything Respondent may or may not have done (assuming such
                                                                                                      a   claim
 even exists in this proceeding).

                ResQondent’s Purgorted Retaliation Defense
                12.       As      Respondent acknowledges                 Answer         Petitioner notified
 Respondent in January 2014 that it was not renewing his lease. A copy of
                                                                          said letter             is annexed
 hereto as Exhibit

                13.       Petitioner’s decision was made collectively by me and Lorraine Doyle, the
managing agent of the Building until the end of May, 2014, when she
                                                                    retired. Our decision was
based upon numerous factors.

                14.       First, Respondent’s       payment      history had become erratic. While
Respondent’s   payment     history was satisfactory at first afier he moved into the Premises in
                                                                                                 2002,
his payments became more irregular in approximately the spring
                                                               of 2012.                         A copy of
Respondent’s rent history is annexed hereto as Exhibit

               15.        As   demonstrated by the rent history, Respondent had a running balance for
the majority of the period beginning in June 2012.             Exhibit       annexed hereto.




                                                                                                                    LD001946
        Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 4 of 14




  copy of the nonpayment petition
                                                        Petition”) is annexed hereto as Exhibit "F”.
                     17.   The $10,887.00 sought did not include either
                                                                           April 2014 rent or any late
  fees and legal fees. Thus, the rent deposited into
                                                       Court by Respondent in April 2014 (which is
  discussed more fully hereinbelow) did not include April,
                                                             2014 rent or any additional fees. A copy
  of the certificate of deposit is annexed
                                           hereto as Exhibit
                    18.      Second, I am unaware of any complaints made in good faith by
                                                                                               Respondent
  to any governmental      authority or agency.
                    19.     In response to Respondent’s allegation that       Petitioner retaliated for the




 as   Exhibit

                   20.      Further, HPD’s website also reveals that Respondent filed complaints        on
 February 18 and on February 24 under complaint numbers
                                                            6800143 and 6809481 respectively.
 The first complaint was closed when no violation was issued aher
                                                                  an inspection           and the second
 complaint was closed when HPD was informed by             a   tenant that heat and hot water had been
 restored. Copies of said records are annexed hereto collectively     as   Exhibit
                   21.     These same records demonstrate that there were no complaints made
                                                                                             to
HPD from July 2013 through February 18, 2014, a period of more than 6 months.

                  22.      The two complaints filed by Respondent in February are
                                                                                  referenced in
Exhibit         annexed to the Answer.

                  23.      Respondent also filed a complaint on June 18, 2014 alleging that there was
no hot water    Building-wide.       Exhibit      annexed hereto. As with the February 24 complaint,




                                                                                                              LD001947
         Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 5 of 14


     the June 18 complaint was closed when HPD was
                                                   informed by a tenant that heat and hot water had
     been restored.          Exhibit     annexed hereto.

                       24.       Indeed, since Respondent filed these     3   complaints after Petitioner notified
    him that it would not be renewing his lease, Petitioner submits that
                                                                         Respondent’s complaints were
    retaliation for Petitioner’s decision.

                      25.        Further, Petitioner submits that its definition of                   differs quite    a

    bit from Respondent's definition of

                      26.       As stated   hereinabove, Petitioner      cannot     emphasize enough that, in          a

    structure with 44 stories and nearly 550 apartments, there were no violations in the
                                                                                         Building prior
    to Petitioner’s commencement of this         proceeding]
                      2?.       Respondent also alleges that he is            an                    member of the
    community, praised by hundreds of people for his community work, has                       no   complaints from
    neighbors” (s_ee Answer 116).

                      28.       First, Respondent fails   to   offer any proof either in the Answer or annexed
    thereto in the numerous pages of exhibits that any of these allegations are true.

                      29.       Second, even assuming arguendo that these allegations are true (which
    Petitioner clearly vociferously disputes), they do not rise         to the     level of obligating Petitioner to
    renew the Lease.

                      30.       Respondent also maintains that he was notified that the Lease would not be
renewed after                organized the community on his local website called BatteryPark.TV”. _Se_e

Answer 118.




I  Petitioner received notice in late June 2014 of a double cylinder lock-related violation the
Building, which it is in the process of correctin g. Petitioner surmises again that said complaintat was
filed by Respondent and again asks the Court to take judicial notice of the retaliatory nature of said
complaint, along with the others filed by Respondent since February 2014.




                                                                                                                           LD001948
          Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 6 of 14


                        3   l.      However, Petitioner submits that Respondent’s
                                                                                  establishment of a website
   is not   tantamount to his                             of the community”.
                        32.
                          Indeed, in Respondent’s own words on the BatteryPark.TV
                                                                                            website,
                     is social networking with original multimedia
                                                                   content. You can contribute your
  own comments, photos, and stories” and
                                                                is a genuine web-news outlet with
  original content, video production, producers,
                                                  editor, cameramen, and national guests”. The
                                                                                                top
  of said page says        inform”. A copy of the first page of said website is
                                                                                 annexed hereto as
  Exhibit

                   33.            Thus,   at   best, Respondent’s website would seem to be
                                                                                                     a   combination of a
  local                 and news outlet” which is               informational   in nature, with absolutely no   indication,
  let alone proof, that the local community organized
                                           is         by said website.
                   34.            Further, there        is no   demonstration    by Respondent that his     website was


                   35.   Indeed, Petitioner can emphatically demonstrate
                                                                          otherwise since, upon
 information and belief, Petitioner offered Respondent renewals
                                                                in the past after Respondent had
 already established his website.

                  36.            Thus, they do not rise to the level of obligating Petitioner to
                                                                                                 renew the Lease
                  37.            According         to   Respondent, Exhibit           annexed to the Answer, which
consists of 19 pages of assorted emails, also supports his allegation
                                                                      that Petitioner retaliated
against Respondent.

                  38.            However,      a    closer review of these emails reveals that nothing could
                                                                                                             be
further from the truth.

                  39.            The first 11 of the 19 pages of emails                Exhibit        pp. 42-52 of the
Answer) are from 2011 and earlier, aside from any questions
                                                            regarding the substantive legitimacy
of the emails.




                                                                                                                              LD001949
     Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 7 of 14


                40.     On the next pages, there are   2   additional emails from 2012 (s@ Exhibit
 pp. 53-54 of the Answer). Petitioner again sets aside any questions
                                                                     regarding the legitimacy of
 the emails.

                41.    The remaining emails on pp. 55-60, which purportedly cover the time
period of August 2013-March 2014, can be categorized           as   follows: (a) Respondent complaining
during working hours that the water has allegedly been turned off; (b) Petitioner providing

Respondent (and other residents in the Building) with advance notice of an upcoming water

shutdown for valid reasons, i.e.; DEP replacing the Building’s water meter and the annual
                                                                                          cleaning
of the Building’s water tower; (c) Petitioner reminding Building residents of construction; (cl)

Respondent’s complaints about the foregoing.

               42.     Petitioner also has received complaints about Respondent’s behavior and
actions from other residents and employees of the Building. More specifically, Petitioner has

received reports that Respondent confronted other residents in the Building including, but              not

limited to, one who contributes to one of the neighborhood’s local newspapers.

               43.     Respondent apparently believed that the resident’s reporting was inaccurate
and believed that he had carre blanche to verbally attack and harass this resident.

               44.     Respondent also instigated an incident with the Building’s overnight
concierge, which resulted in the dismissal of the Building’s employee.

               45.     The Court should not be surprised by these aforestated incidents as they are

consistent with Respondenfs instigatory exchange with Lorraine Doyle described in 1110 of the
Answer, assuming of course that the purported transcription of the                  is true. Sgt;   Exhibit
    annexed hereto.

               46.    Further, it was incidents such as these that prompted Milford to hire Spartan
Security Services             to   monitor Milford’s office located at 99 Battery Place. Respondent

was fond of repeatedly coming to    Milford’s office and stating            do you have to say to me?”




                                                                                                              LD001950
         Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 8 of 14


     and he often filmed random exchanges
                                                       between Milford’s employees, causing annoyance
                                                                                                             and
     alarm among them.

                    47.        The affidavit of Michael I-iealy,    a   security supervisor employed by Spartan
  who was stationed at Milford’s office, accompanies
                                                          this motion and details one such incident.
  The February 12, 2014 incident detailed Healy’s
                                           in         affidavit caused him to recommend to Milford
 to file a police report against Respondent, a copy of
                                                       which is annexed hereto as Exhibit
                   48.         Notwithstanding the foregoing, as Petitioner does not own every apartment
 in the Building, Petitioner would not interfere if Respondent
                                                               found another owner in the Building
 willing to rent to him.

                   49.         I also must emphasize     that, even assuming said allegation is relevant (which
     do not concede), I have not received either any
 I
                                                            telephone calls or any correspondence of any kind
 from any of the numerous individuals named in the Answer.

                  50.         Thus, I have not heard from either Sheldon Silver, who Respondent
 suspects of playing      a   role in                 against Respondent, or his staffer Paul Goldstein.
 Exhibit        annexed hereto,         W12-13.
                  51.         I also have not heard from         Robert Serpico or Dennis Mehiel, acting
president and CEO of Battery Park City Authority                                      respectively, regarding
Respondent’s occupancy in the Premises.

                  52.         I also   have not been informed of any such calls or correspondence by any
other employee of either Milford or Petitioner.

                  53.         Each of the foregoing individuals presumably has more important
                                                                                              concerns
than interfering with Petitioner’s decision .not to renew Respondent’s lease.

                 54.          Similarly, whatever the Department of Transportation                    may or
may not be doing in and around the Building and Respondent’s
                                                             purported commentary thereon had
no   effect on Petitioner’s decision not      to   renew Respondent’s lease.




                                                                                                                   LD001951
         Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 9 of 14


                      55. While I certainly concur with Respondent’
                                                                         s concern about the
                                                                                               safety of
  pedestrians crossing streets in the
                                      neighborhood, this issue is irrelevant to this
                                                                                     proceeding.
                 56.     Thus, even assuming Respondent’s
                                                                 self-serving Exhibits




  Premises.

                  The Building and the Premises Are
                                                                   Condominiums
                  5?.     Respondent alleges that the Building is
                                                                    rent-stabilized regulated by the
          law” and that the Building is     a pure condo building”.


                  58.        Respondent’s        allegations      lack merit    and    lack     any    supporting
 documentation.
                 59.         Simply put, Petitioner never participated in the
                                                                                          program” referred to
 by Respondent              Exhibit         p. 8, 1123), its   receipt of 421-21 tax benefits was irrelevant    to
 Petitioner’s tenants and the 421-a participation expired
                                                          in approximately            1998.
                60.         Notably absent from the Answer is any proof of Respondenfs
                                                                                                    allegations in
 lieu of mere conjecture.

                61.         Annexed hereto as Exhibits             and      respectively are the declaration of
condominium for the Building and the amended declaration of condominitun
                                                                                          for the Building.
                62.         Moreover,   I   am advised by      Petitioner’s counsel that this   a            that
Respondent has long since waived since he moved into the
                                                         Premises in 2002 and signed renewal
leases since then.

                63.         In addition, Petitioner’s counsel advises me that,
                                                                               to the extent that
Respondent is seeking declaratory relief in the Answer, said
                                                             claim should not be entertained in this
Court.




                                                                                                                     LD001952
         Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 10 of 14


                        Petitioner Has Not Threatened Res
                                                          ondent
                       64.     I am
                                advised by counsel that Respondent’s
                                                                     claims of intimidation and
   harassment have no relation to this proceeding.
                   65.         Nevertheless, I feel compelled to respond to at least
                                                                                       some of the allegations
  therein to demonstrate the utter lack of merit.

                   66.



  purportedly sent to the NYPD                           said                  Exhibit          annexed to the
  Answer) demonstrate the extent of Respondent’s
                                                 delusions.
                  6?.         Respondent next describes        purported email exchange
                                                           a                               between him and
 Janet Martin. ggg Exhibit             p. 13, {H38-39.

                  68.




                  69.        Respondent also discusses two accounting issues he
                                                                                had with Petitioner’s
 management     office.

                 7'0.        However, any objective analysis of these 2 accounting
                                                                                   issues should result
 in the conclusion that these were minor                   if that, which Respondent attempted (and still
attempts) to escalate into an epic confrontation.

                 71.         Indeed, the Court is respectfully referred to Exhibits       and       annexed
to the   Answer which, based upon the venom and vitriol therein,
                                                                 speak for themselves.
                 72.



threatened or harassed       by Petitioner?




                                                                                                                 LD001953
      Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 11 of 14


                       Respondent Still Owes Rent

                       73.




                   74.          I am   advised by Petitioner’s counsel that Respondent did
                                                                                           not answer the
  nonpayment    petition but rather took it upon himself
                                                         to deposit the rent sought through
                                                                                            March into
  Court.        Exhibit      annexed hereto.

                   75.          I am
                               advised by Petitioner’s counsel that its motion to have
                                                                                          those funds
 released is returnable next on July 22. A copy of said
                                                        notice of motion is annexed hereto as Exhibit


                  76.     The Court should note that since the nonpayment
                                                                           proceeding sought rent
 only through March and Respondent’s lease expired
                                                      on April 30, Respondent still owes April
                                                                                               2014
 rent pursuant to said lease agreement.

                  77.




                    Simply put, since Respondent still occupies the
                                                                         Premises, it would be
premature and improper for Petitioner either to credit the deposit
                                                                   to April          rent or to return the
security deposit to Respondent.

                 79.          As for May          Respondent acknowledges that Petitioner informed him
that it does not have his purported May Went” check.            Exhibit      {[45,
                 80.          The registered managing agent listed the
                                                                  in   Petition and in the nonpayment
proceeding   as well is      Lorraine Doyle. She retired at the end of May 2014, after both
                                                                                            proceedings
were commenced.




                                                                                                             LD001954
        Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 12 of 14


                     31.      Needless to say, while Petitioner will obviously update
                                                                                             the   information with
    HPD, it is inconsequential     this proceeding and, most importantly, not prejudicial
                                    to
                                                                                          at all                    to
    Respondent since the Building remains registered with
                                                          HPD.
                    82.       Respondent clearly knows who to contact in the Building if any
                                                                                             issues arise.
                    Respondent’s Rent is Fair Market Which He Has Never
                                                                        Challenged
                    83.     Not surprisingly, in response           to   this proceeding, Respondent suddenly
    alleges that his rent has been too high.

                   84.     However, this        is an unregulated apartment and the rent can be
                                                                                                whatever the
         market” will bear.

                   85.     Second, a review of Respondent’s tenancy and rent history (seg
                                                                                          Exhibit
 annexed hereto) reveals that Resp0ndent’s rent 12 years ago was $2,265.00
                                                                           and increased at an
 extremely reasonable rate since then.

                   86.     While in July 2003, Respondent’s rent increased to $2,378.25, the rate of
the increase remained steady thereaiter, as Respondent’s rent
                                                                             increased   to $2,450.00 in August
2004, $2,495.00 in August
                          2005, $2,575 .00 in August 2006, $2,675.00 in August 2007, $2,850.00
in August 2008 (where it remained until April 2011), $2,995.00 in May 2011, $3,150.00 May
                                                                                     in
2012 and $3,395.00 in May 2013.

                   87.     Respondent voluntarily signed these lease renewals and paid rent pursuant
to   same, although as your deponent explains hereinabove, Respondent's rent payments became

erratic in 2012.

                   88.     Annexed       as   Exhibit      to the    Answer (gee '[[53) is what Respondent
purports to be       list of some recent apartments rented by individual owners” in the
                                                                                        Building
a   list of apartments rented by Milstein” which purportedly demonstrates the
                                                                                                   discrepancy in
rents” charged by both.




                                                                                                                         LD001955
        Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 13 of 14




                     91.   Although Respondent also alleges how
                                                                       he has been
   Psystematically misled” by Petitioner when he
                                                      renewed his lease in past years,
                                                                                       Petitioner can
   emphatically state that neither scenario
                                            occurred.
                  92.        Most importantly,




                 93.



 the other apartment.

                 94.        Your deponent does not know whether
                                                                Respondent followed up on that.
 However, Petitioner did not interfere with that
                                                 process.
 PETITIONER’S MOTION FOR SUMMARY JUDGMENT
                95.        Annexed hereto respectively   as Exhibits PL”, PM” and P0” are
                                                                                          copies       of the
 declaration of condominium for      the Building, the amended
                                                                  declaration of condominium for the
Building and the Buildings certified multiple
                                              dwelling registration.
               96.         Annexed hereto   as   Exhibit PC” collectively   are the   Lease and the most
recent renewal lease for the   Premises which expired on April 30, 2014
                                                                        (collectively       referred   to as




                                                                                                                LD001956
 Case 1:15-cv-06119-AJN-JLC Document 404-5 Filed 07/19/17 Page 14 of 14




     the           both of which were signed by
                      ,
                                                      Respondent. The original
                                                                                   Lease was signed by
  Lorraine Doyle and the renewal was signed
                                                 by Clive Spagnali, Mil
                                                                        ford’: director aftease services.
  I have seen all of their signatures
                                      numerous times and are extremely familiar
                                                                                    with them.
                  97.     I am advised by
                                            Petitioner's counsel that 1117]? of the Lease
                                                                                            contains the
 language necessary for Petitioner to seek its
                                                    attorneys’ fees incurred herein.
                                                                                            Exhibit
 annexed hereto.

                          98.     Anncxcd hereto as Exhibit "E”         is the rent   history for the Premises which
 shows no        payments       made by   Respondent after the expiration of the Lease
                                                                                       and, of course, prior      to
 the expiration ofllte Lease as well.

                      99,        The documents annexed hereto as Exhibits
                                                                                          "E’,    and       are kept
by    Milford's office in the ordinary course of its business,
                                                                          are kept in the custody of Milford and
                                                                                                                 it
is the duty       oi'Milford    to   do so and to   keep the records   current.

                      100.
                       Given the foregoing and the
                                                     accompanying afiinnation of Petitioner’:
counsel and Petitioner’s memorandum of law, Petitioner's
                                                         motion sh            d in its entirety.




                                                                                       tcphen Rossi
Sworn      to   before me this
Ifhday fluly 2014

           Notary Public

       DAVID BARRY FECKEHMAN
      "mgryP b1Ic.StatnofNawYoIk
               oereezseua
         owned In Kl
     omuntuton EXP"!-      J .MII




                                                                                                                       LD001957
